       Case 3:20-cv-07743-MMC Document 1 Filed 11/03/20 Page 1 of 7




 1     CENTER FOR DISABILITY ACCESS
       Amanda Seabock, Esq., SBN 289900
 2     Prathima Price, Esq., SBN 321378
       Dennis Price, Esq., SBN 279082
 3     Mail: 8033 Linda Vista Road, Suite 200
       San Diego, CA 92111
 4     (858) 375-7385; (888) 422-5191 fax
       amandas@potterhandy.com
 5
       Attorneys for Plaintiff
 6
 7
 8                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
 9
10     Brian Whitaker                            Case No.
11               Plaintiff,
12                                               Complaint For Damages And
         v.                                      Injunctive Relief For Violations
13                                               Of: Americans With Disabilities
       250 Beach Street LLC, a California        Act; Unruh Civil Rights Act
14     Limited Liability Company;
       Geek Guys Electronics LLC, a
15     California Limited Liability
       Company
16               Defendants.
17
18         Plaintiff Brian Whitaker complains of 250 Beach Street LLC, a
19   California Limited Liability Company; Geek Guys Electronics LLC, a
20   California Limited Liability Company; and alleges as follows:
21
22     PARTIES:
23     1. Plaintiff is a California resident with physical disabilities. He is
24   substantially limited in his ability to walk. He suffers from a C-4 spinal cord
25   injury. He is a quadriplegic. He uses a wheelchair for mobility.
26     2. Defendant 250 Beach Street LLC owned the real property located at or
27   about 97 Jefferson Street, San Francisco, California, in October 2020.
28     3. Defendant 250 Beach Street LLC owns the real property located at or


                                            1

     Complaint
       Case 3:20-cv-07743-MMC Document 1 Filed 11/03/20 Page 2 of 7




 1   about 97 Jefferson Street, San Francisco, California, currently.
 2     4. Defendant Geek Guys Electronics LLC owned Phone King located at or
 3   about 97 Jefferson Street, San Francisco, California, in October 2020.
 4     5. Defendant Geek Guys Electronics LLC owns Phone King (“Store”)
 5   located at or about 97 Jefferson Street, San Francisco, California, currently.
 6     6. Plaintiff does not know the true names of Defendants, their business
 7   capacities, their ownership connection to the property and business, or their
 8   relative responsibilities in causing the access violations herein complained of,
 9   and alleges a joint venture and common enterprise by all such Defendants.
10   Plaintiff is informed and believes that each of the Defendants herein is
11   responsible in some capacity for the events herein alleged, or is a necessary
12   party for obtaining appropriate relief. Plaintiff will seek leave to amend when
13   the true names, capacities, connections, and responsibilities of the Defendants
14   are ascertained.
15
16     JURISDICTION & VENUE:
17     7. The Court has subject matter jurisdiction over the action pursuant to 28
18   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
19   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
20     8. Pursuant to supplemental jurisdiction, an attendant and related cause
21   of action, arising from the same nucleus of operative facts and arising out of
22   the same transactions, is also brought under California’s Unruh Civil Rights
23   Act, which act expressly incorporates the Americans with Disabilities Act.
24     9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
25   founded on the fact that the real property which is the subject of this action is
26   located in this district and that Plaintiff's cause of action arose in this district.
27
28     FACTUAL ALLEGATIONS:


                                               2

     Complaint
       Case 3:20-cv-07743-MMC Document 1 Filed 11/03/20 Page 3 of 7




 1     10. Plaintiff went to the Store in October 2020 with the intention to avail
 2   himself of its goods and to assess the business for compliance with the
 3   disability access laws.
 4     11. The Store is a facility open to the public, a place of public
 5   accommodation, and a business establishment.
 6     12. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
 7   to provide wheelchair accessible sales counters in conformance with the ADA
 8   Standards as it relates to wheelchair users like the plaintiff.
 9     13. The Store provides sales counters to its customers but fails to provide
10   any wheelchair accessible sales counters.
11     14. A problem that plaintiff encountered was that the sales counter was too
12   high and there was no lowered portion of the sales counter suitable for
13   wheelchair users.
14     15. Plaintiff believes that there are other features of the sales counters that
15   likely fail to comply with the ADA Standards and seeks to have fully compliant
16   sales counters for wheelchair users.
17     16. On information and belief, the defendants currently fail to provide
18   wheelchair accessible sales counters.
19     17. These barriers relate to and impact the plaintiff’s disability. Plaintiff
20   personally encountered these barriers.
21     18. As a wheelchair user, the plaintiff benefits from and is entitled to use
22   wheelchair accessible facilities. By failing to provide accessible facilities, the
23   defendants denied the plaintiff full and equal access.
24     19. The failure to provide accessible facilities created difficulty and
25   discomfort for the Plaintiff.
26     20. The defendants have failed to maintain in working and useable
27   conditions those features required to provide ready access to persons with
28   disabilities.


                                              3

     Complaint
       Case 3:20-cv-07743-MMC Document 1 Filed 11/03/20 Page 4 of 7




 1     21. The barriers identified above are easily removed without much
 2   difficulty or expense. They are the types of barriers identified by the
 3   Department of Justice as presumably readily achievable to remove and, in fact,
 4   these barriers are readily achievable to remove. Moreover, there are numerous
 5   alternative accommodations that could be made to provide a greater level of
 6   access if complete removal were not achievable.
 7     22. Plaintiff will return to the Store to avail himself of its goods and to
 8   determine compliance with the disability access laws once it is represented to
 9   him that the Store and its facilities are accessible. Plaintiff is currently deterred
10   from doing so because of his knowledge of the existing barriers and his
11   uncertainty about the existence of yet other barriers on the site. If the barriers
12   are not removed, the plaintiff will face unlawful and discriminatory barriers
13   again.
14     23. Given the obvious and blatant nature of the barriers and violations
15   alleged herein, the plaintiff alleges, on information and belief, that there are
16   other violations and barriers on the site that relate to his disability. Plaintiff will
17   amend the complaint, to provide proper notice regarding the scope of this
18   lawsuit, once he conducts a site inspection. However, please be on notice that
19   the plaintiff seeks to have all barriers related to his disability remedied. See
20   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
21   encounters one barrier at a site, he can sue to have all barriers that relate to his
22   disability removed regardless of whether he personally encountered them).
23
24   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
25   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
26   Defendants.) (42 U.S.C. section 12101, et seq.)
27     24. Plaintiff re-pleads and incorporates by reference, as if fully set forth
28   again herein, the allegations contained in all prior paragraphs of this


                                               4

     Complaint
       Case 3:20-cv-07743-MMC Document 1 Filed 11/03/20 Page 5 of 7




 1   complaint.
 2     25. Under the ADA, it is an act of discrimination to fail to ensure that the
 3   privileges, advantages, accommodations, facilities, goods and services of any
 4   place of public accommodation is offered on a full and equal basis by anyone
 5   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
 6   § 12182(a). Discrimination is defined, inter alia, as follows:
 7            a. A failure to make reasonable modifications in policies, practices,
 8                or procedures, when such modifications are necessary to afford
 9                goods,    services,    facilities,   privileges,    advantages,   or
10                accommodations to individuals with disabilities, unless the
11                accommodation would work a fundamental alteration of those
12                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
13            b. A failure to remove architectural barriers where such removal is
14                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
15                defined by reference to the ADA Standards.
16            c. A failure to make alterations in such a manner that, to the
17                maximum extent feasible, the altered portions of the facility are
18                readily accessible to and usable by individuals with disabilities,
19                including individuals who use wheelchairs or to ensure that, to the
20                maximum extent feasible, the path of travel to the altered area and
21                the bathrooms, telephones, and drinking fountains serving the
22                altered area, are readily accessible to and usable by individuals
23                with disabilities. 42 U.S.C. § 12183(a)(2).
24     26. When a business provides facilities such as sales or transaction counters,
25   it must provide accessible sales or transaction counters.
26     27. Here, accessible sales or transaction counters have not been provided in
27   conformance with the ADA Standards.
28     28. The Safe Harbor provisions of the 2010 Standards are not applicable


                                             5

     Complaint
       Case 3:20-cv-07743-MMC Document 1 Filed 11/03/20 Page 6 of 7




 1   here because the conditions challenged in this lawsuit do not comply with the
 2   1991 Standards.
 3      29. A public accommodation must maintain in operable working condition
 4   those features of its facilities and equipment that are required to be readily
 5   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
 6      30. Here, the failure to ensure that the accessible facilities were available
 7   and ready to be used by the plaintiff is a violation of the law.
 8
 9   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
10   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
11   Code § 51-53.)
12      31. Plaintiff repleads and incorporates by reference, as if fully set forth
13   again herein, the allegations contained in all prior paragraphs of this
14   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
15   that persons with disabilities are entitled to full and equal accommodations,
16   advantages, facilities, privileges, or services in all business establishment of
17   every kind whatsoever within the jurisdiction of the State of California. Cal.
18   Civ. Code §51(b).
19      32. The Unruh Act provides that a violation of the ADA is a violation of the
20   Unruh Act. Cal. Civ. Code, § 51(f).
21      33. Defendants’ acts and omissions, as herein alleged, have violated the
22   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
23   rights to full and equal use of the accommodations, advantages, facilities,
24   privileges, or services offered.
25      34. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
26   discomfort or embarrassment for the plaintiff, the defendants are also each
27   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
28   (c).)


                                              6

     Complaint
       Case 3:20-cv-07743-MMC Document 1 Filed 11/03/20 Page 7 of 7




 1
 2          PRAYER:
 3          Wherefore, Plaintiff prays that this Court award damages and provide
 4   relief as follows:
 5       1. For injunctive relief, compelling Defendants to comply with the
 6   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
 7   plaintiff is not invoking section 55 of the California Civil Code and is not
 8   seeking injunctive relief under the Disabled Persons Act at all.
 9       2. Damages under the Unruh Civil Rights Act, which provides for actual
10   damages and a statutory minimum of $4,000 for each offense.
11       3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
12   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
13
     Dated: October 29, 2020          CENTER FOR DISABILITY ACCESS
14
15
                                      By:
16
17                                    _______________________

18                                           Amanda Seabock, Esq.
                                             Attorney for plaintiff
19
20
21
22
23
24
25
26
27
28


                                            7

     Complaint
